51 F.3d 269
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.David Charles McCLINTON, Defendant-Appellant.
    No. 94-7391.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1995Decided:  April 4, 1995
    
      David Charles McClinton, Appellant Pro Se.
      Carl Horn, III, OFFICE OF THE UNITED STATES ATTORNEY, Charlotte, NC, for Appellee.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying Appellant's motion for return of seized property.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. McClinton, Nos.  CR-89-24;  CR-89-98-C;  CR-89-99-C;  CR-89-100-C;  CR-89-101-C;  CR-89-102-C;  CR-89-103-C;  CR-90-17-C-S (W.D.N.C. Oct. 14, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    